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                                              UNITED STATES BANKRUPTCY COURT
                                                SOUTHERN DISTRICT OF TEXAS
                                                    GALVESTON DIVISION

   IN RE:                          §
                                   §
   TIGHT ENDS SPORTS BAR & GRILL, §                                                      Case No. 23-42104
   INC.,                           §                                                     Chapter 11 - TXEB
                                   §
         Debtor                    §
                                   §
   SALT & PEPPER RESTAURANTS, INC. §
                                   §
         Plaintiff,                §
                                   §                                                     Adv. No. _________________
   v.                              §
                                   §                                            (Cause No. 22-cv-0675; Salt & Pepper
                                   §                                            Restaurants, Inc. v. Tight Ends Sports
                                   §                                               Bar & Grill, LLC and Timothy
                                   §                                                   Dungan v. BankSouth)
   TIGHT ENDS SPORTS BAR & GRILL, §
   INC. and TIMOTHY DUNGAN,        §
                                   §
         Defendants                §
                                   §

                                                                 NOTICE OF REMOVAL

              Tight Ends Sports Bar & Grill, Inc., debtor in possession and plaintiff ("TESBG" or

"Debtor"), files this Notice of Removal of the claims asserted by Salt & Pepper Restaurants, Inc.

(“Plaintiff”) in the above-styled action the 56th Judicial District Court of Galveston County, Texas

(the “State Court”) (which action has borne Case No. 22-cv-0675 in the State Court) to this

Bankruptcy Court.

                                                                         BACKGROUND

              1.            Removal is made pursuant to 28 U.S.C. § 1452, and this Notice of Removal has

been prepared in accordance with Bankruptcy Rule 9027.




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              2.            On April 20, 2022, Plaintiff commenced an action in the State Court by filing a

petition in the State Court (the “State Court Action”) asserting claims for, inter alia, breach of

contract against TESBG and breach of guaranty against co-defendant Timonthy Dungan (together

with TESBG, “Defendants”).

              3.            Defendants have answered and appeared in the State Court Action.

              4.            A copy of the current docket form the State Court Action is attached hereto as

Exhibit GC001.

                                                             GROUNDS FOR REMOVAL

              5.            The following without limitation describes the grounds for removal. Reference is

also made to the pleadings and other papers on file in the State Court Action.

              6.            On November 3, 2023 (the "Petition Date"), Plaintiff filed a voluntary petition for

relief under Chapter 11 of the United States Bankruptcy Code, 11 U.S.C. § 101, et seq. (the

"Bankruptcy Code"), initiating Case No. 23-42104 with the United States Bankruptcy Court for

the Eastern District of Texas, Sherman Division (the "Bankruptcy Case").

              7.            The claims and causes of action asserted in the State Court Action are related to the

Bankruptcy Case.

              8.            This action involves claims or causes of action that are removable under 28 U.S.C.

§ 1452 because they are, at a minimum, related to a case under the Bankruptcy Code over which

the Bankruptcy Court has jurisdiction pursuant to 28 U. S. C. § 1334(b).

              9.            This Notice of Removal has been filed within ninety (90) days of the order for relief

entered in the Bankruptcy Case.

                                                                              PARTIES

              10.           Pursuant to Local Rule 9027-1, the names and addresses of the parties and their

counsel are shown below. Service has been effectuated on all parties.

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              Role                                            Party                            Counsel

Plaintiff                           Salt & Pepper Restaurants, Inc.           Preston T. Kamin
                                                                              Tyler J. McGuire
                                                                              Gray Reed
                                                                              1300 Post Oak Blvd., #2000
                                                                              Houston, TX 77056
                                                                              713-986-7000(W)
                                                                              713-986-7100(F)
                                                                              pkamin@grayreed.com
Defendant                           Dungan, Timothy                           Pro Se
                                    5584 State Hwy 121
                                    Plano, TX 75024




Defendant                           Tight Ends Sports Bar & Grill, LLC        Jeff Carruth
                                                                              Weycer, Kaplan, Pulaski & Zuber, P.C.
                                                                              24 Greenway Plaza, Suite 2050
                                                                              Houston, TX 77046
                                                                              713-341-1158(W)
                                                                              713-961-5341(F)
                                                                              jcarruth@wkpz.com

Garnishee                           BankSouth                                 Pro Se
                                    c/o. Texas Secretary of State
                                    1019 Brazos Street                        Answer was signed by:
                                    Austin, TX 78701
                                                                              David Cowles, COO
                                                                              6340 Lake Oconee Parkway
                                                                              Greensboro, GA 30642
                                                                              716-453-2943
                                                                              dcowles@banksouth.com

Garnishor                           Salt & Pepper Restaurants, Inc.           Preston T. Kamin
                                                                              Tyler J. McGuire
                                                                              Gray Reed
                                                                              1300 Post Oak Blvd., #2000
                                                                              Houston, TX 77056
                                                                              713-986-7000(W)
                                                                              713-986-7100(F)
                                                                              pkamin@grayreed.com

                                                        CORE VS. NON-CORE MATTERS

              11.           This case involves core matters. The core matters involved include, without

limitation, those referenced in 28 U.S.C. § 157(b)(2)(A), (B), (C), and (O).




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                                                DOCKET FROM UNDERLYING ACTION

              12.           Pursuant to L. Rule 9027-1, a copy of the record of this court, all known pleadings

filed and orders entered in the State Court Action are filed concurrently herewith.

                                                         CONSENT TO FINAL ORDERS

              13.            Pursuant to L. Rule 9027-2, the Debtor as the party removing the proceeding

consents to the entry of final orders, or judgment by the bankruptcy judge if it is determined that

the bankruptcy judge, absent consent of the parties, cannot enter final orders or judgment

consistent with Article III of the United States Constitution.

                                                            RESERVATION OF RIGHTS

              14.           Debtor reserves the right to amend and/or supplement this Notice.

              WHEREFORE, the Debtor respectfully requests that this Court accept this Notice of

Removal and assume jurisdiction over this case, and issue such further orders and process as justice

may require.



                                                             {continued on following sheet}




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  Dated: November 8, 2023                                                     Respectfully submitted:

                                                                              WEYCER, KAPLAN, PULASKI & ZUBER, P.C.

                                                                              By: /s/ Jeff Carruth
                                                                                    JEFF CARRUTH
                                                                                    State Bar No. 24001846
                                                                                    2608 Hibernia, Suite 105
                                                                                    Dallas, Texas 75024
                                                                                    Phone: (713) 341-1158
                                                                                    Facsimile: (713) 961-5341
                                                                                    jcarruth@wkpz.com

                                                                              PROPOSED ATTORNEYS FOR
                                                                              TIGHT ENDS SPORTS BAR & GRILL, INC.
                                                                              DEFENDANT AND DEBTOR IN POSSESSION



                                  CERTIFICATE OF SERVICE
        I hereby certify that on November 8, 2023, true and correct copies of the foregoing
Notice of Removal, was served via the courts Efile and/or the PACER ECF system and by
regular mail to each of the parties shown in Paragraph No. 10 above.

                                                                               _____/s/ Jeff Carruth___________________
                                                                                      Jeff Carruth




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